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Flynn Files - Ultimate Warrior Interview Part I

having fun, life was great. It was not though till the night before when Hogan and Vince and I
got together one last time that it was set that I would go over and the exact details of that
finish were laid out. Hogan and 1 never really discussed anything beyond that. We did not
hang out together. He did his thing, I did mine. We did the match and it was awesome.

FLYNN |: The match itself: Neither Hogan, nor you, is considered by the wrestling wonks
to be the best of technical wrestlers. But, even though this is the stizma that you both haye—
that you get by on charisma and ring personality and your physiques—a lot of wrestling fans
think this is one of the best matches of all time.

WARRIOR): They do because it was. Look, technical wrestling ta some degree is
something every guy in the business learns to do—the basics and all—because you can't get
your foot in the door of the business unless you know how to get by technically to begin with.
learned all that stuff before I even went to the WWF and continued with it for a good while
after I got there, [ was wrestling in high-school arenas with Steve Lombardi and Terry Gibbs
and Mike Sharpe and some others. And we were doing back drops, and arm drags, leap frogs,
working holds—we were doing all the wrestling stuff that you see little guys do as part of their
regular act. You have to be able to know how to de at least some of that stuff in the beginning.
The gimmick, if you have one or are capable of one, takes priority later,

Not being a technical wrestler is kind of a silly bad wrap I get all the time from guys like Bret
Hart and industry pundits. My response is, look, you guys were in the business for a dozen
years before I even got there. A dozen years and you never figured it out that wrestling skills
per se were not where it was at, It was about being a gimmick. I got there and in two years I
figured it out. I'd also busted my ass in painful ways they never had—years of training in the
gym, self-discipline in working out and dieting. If they want to criticize anybody they should
criticize the promoters who were, in effect, telling them, your little bag of fancy wrestling
moves don't sell tickets t-shirts, posters, dolls, etc.—so leave them and your tears at home,
instead show up with some muscle and some energy.

What, am I supposed to apologize I did what it tock, at that time, and they didn't?

It wasn't part of my gimmick—it wouldn't fit Ultimate Warrior—to keep doing the wrestling
stuff. I was smart enough to know that. Making that decision is up to the talent. In other
words, whatever a wrestler decides to portray himself as in the wrestling ring character-wise,
he's the one who develops that. Hogan and I both had strong big man gimmicks but we knew
the significance of the match called for weaving in some of the wrestling skills we didn't
Tegularly use te create drama and emotion, the working of big man holds and the close false
finishes, etc. It was a big thing, that match, and people believed in the Ulimate Warrior
character enough to know he might be the one for the very first time to put Hogan cleanly on
his back for the 1-2-3.

FLYNN |: Does that small-guy stuff shorten your career?

WARRIOR| : Well, it will if you stay with it and you're a big guy with the potentials in
other ways to pull off a big guy gimmick. If you don't figure it out. I didn’t get in the business
to be just a pro wrestler. Let alone one who had a whole bag of technical moves. I got in it to
succeed at its highest levels and I did.

One of the hardest things about making it in the business is figuring out the image you need
to portray of your persona, Even once you get up to a top spot in it, itis the thing you have to
pay the most attention to. Small-guy is. a broad term to deseribe many things here, but, I was
a big, powerful—and violently intense—guy who didn’t need to doa lot of the other things
others did.

FLYNN |: Now with Hogan, did you guys take a lot of time to choreograph the match?

WARRIOR}: No, We went over it one time, I went down to Florida and met him in an old
building where they had a ring set up. We walked through the match onetime, And in
Toronto, we “danced.”

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FLYNN]: Let's move on a bit, You were at the WWF when it’s at one of its high points when
you're wrestling Hogan, Then a few years later, the business goes south big time,

WARRIOR | : The business has always had its highs and lows, but you are talkin fg about
@ time when the crap hit the fan with the Dr, Zahorian steroid stuff, causing Vinee and some
of the talent, Hogan and Piper, to be implicated, eventually Vince being prosecuted.

FLYNN : That's what I want to know. What was it like being in the WWF during that real
dark time with the Steroid scandal, and the feds coming down on Vince?

WEERIOR| : Well, most of the guys took stuff. Even guys you'd never imagine, just to

eep up with the pace of the road, the lifestyle, the hanging out with groupies, and drinking,
and whatever else, Of course, steroids were legal, You could get them with a prescription from
a doctor. It was just at the time that the government was initiating a crack down. The war on
street drugs was a bust, so they focused their attention on steroids. The word came down from
the office to either to make sure you had a prescription or get off altogether. I can't remember
exactly without a timeline in front of me. All the documents I have from my litigation with
Titan lay it all out to the day, everything. I just know the office did things in stages. Just trying
to go off the top of my head here, it effected a lot of guys negatively. I wasn't bothered by it, I
never depended on just steroids to maintain my physique and knew I could keep right at what
Iwas doing. Tn ‘92 when I came back you couldn't use them, and I reached a great physical
peak by using the knowledge I had. Hogan, on the other hand, went on The Arsenio Hall
Show and lied about having ever taken them, which just made matters worse and created, I
recall, real friction between Vince and he. Both had different ideas about how to handle it all,
Hogan would always say that Vince was going about dealing with all this the wrong way, But
Vinee got really scared about it all. I remember very vividly a conversation he had with me, He
really thought he was going to do some time in prison.

FLYNN |: What was the mood like in the WWF at that time?

WARRIOR| : Guys were looking for ways around it all. They were especially pissed off that
Vince was paying all the bodybuilders for the bodybuilding organization he was starting up,
obviously all on the juice, and here they were—the wrestlers—busting their ass up and down
the road to foot the bill for guys that got guaranteed money to do nothing but eat, train and
sleep. But that was part of being on the road, the whining and complaining. Yet, like I said,
nobody ever did anything about the bitches they had.

FLYNN |: As a wrestler, when the crowds are getting smaller, what's the mood like in the
at the time? It can’t be as good as a couple of years before, right?

WARRIOR | : Inever really let it effect me, I had to get so pumped upto do Ltimate
Warnor, From the moment the music came on, I had to run out to the ring. I mean, other
guys could just walk out there and walk around. I had to get into this zone in my head to do
Ultimate Warrior to just get to the ring and always continue to just give people their money's
worth.

FLYNN |: Over the years, to build up his company Vince McMahon has taken a lot of
ances. Occasionally, he would make mistakes—the XFL, the bodybuilding federation,

WARRIOR |: This is the way I see it. Vince has always tried to use the money he's made

om professional wrestling to become a part of the more elite class of promoters in other
professional sports, That's why he has done it. Of course, he wants to be successful as a
businessman, I believe that. But I really think he wants to be a part of that more notable
established clique to diminish the stigma of being more like a circus promoter. When he did
the bodybutiding venture, it wasn't like he wanted to raise a crop of bodybuilders. What he
wanted was to have Joe Weider's publishing empire, a credible business without the stigma.
Contracting the bodybuilders, which Weider had never done at the same level, was really just
a means to a bigger end. Vince said as much about what his end goals were when he brazenly
belittled the NEL when he launched the XFL.

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FLYNN } : One thing that I remember, and I asked a guy today if 1 were dreaming or
something like that—one of the gimmicks that Vince had you do which was probably the
dumbest thing I've ever seen on professional wrestling...

WARRIOR]: With the Papa Shango thing?

FLYNN |: Yeah, you know exactly what I’m talking about. So, he had some guy puta
voodoo curse on you and you where throwing up or something. Could you say to Vince, "Hey
Vinee, this is a bad idea?"

WARRIOR): I did. But it did little good once he had his mind set on something, The big
problem was that every three weeks you showed up at a television taping and they had it all
laid out already. They got that one evening to tape three different television programs—
whatever they were at the time, So, they can’t modify things that much. You—the talent~have
been on the road and you're worn down anyway, so it depends how much fight or how much
creativity you have in you to make the case for doing something differently,

FLYNN |: If you tried to say to him, “Look, this isn’t such a good idea.” Is he the type a guy
at takes criticism in stride?

WARRIOR |: Yeah, Vince was always good about hearing good ideas out. In fact, back

en it was really up to the top talent to come up with their own creative ideasto make an
angle work. But you had to come up with another idea really quick because they are going
from one thing to the next. Papa Shango was a voodoo type of character anyway. So, in some
way the office was already convinced that people were buying the voodoo thing. So taking it
up a notch and having Warrior leak ooze or puke pea-soup wasn't, so they thought, wasn't
going to make less believable the engle,

FLYNN | : When was the last time you spoke to Vince McMahon?

WARRIOR]: Geez, 1996, if you mean spoke at any length. In 2000, the day our trial was
to begin and all was settled, he came up to me in the courtroom before the day got underway
with his hand out and stared with his trademark, “Hey pal.” refused to shake his hand and
told him, “T've been insulted enough and we have nothing to be pals about." Tnuly probably
the only time Vince has had that done to him. Try it some time. Refuse to shake the hand ofa
person you don't respect when they have their hand extended. It’s very hard to do. But man
does it build your character and tell you something about yourself. Ever since that day, my
handshake means something and I don't give it as if it does nat.

Return to Mlynn Files tomorrow for part 3 (of 4) of this interview. In part 3, read Warrior's
thoughts on the deeline and fall of WCW, on the possibility ofa return to wrestling, the
character and integrity of Hulk Hogan and Vince McMahon, and the deaths of Rick Rude,
Davey Boy Smith, and Curt Hennig.

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